Case 1:19-cv-22908-MGC Document 10 Entered on FLSD Docket 07/29/2019 Page 1 of 1

AFFIDAVIT OF SERVICE

 

 

 

 

 

 

 

 

Case: Court: County: Job:

Civil Action No. 1:19- United States District Court For The Miami-Dade, FL 3599827
cv-22908-MGC Southem District of Florida

Plaintiff / Petitioner: Defendant / Respondent:

Queens Hospitality LLC, A Florida Limited Liability Company Breakfast Bitch LLC, A California Limited Liability Company
Received by: For:

Jon Serve Associates DiSchino & Schamy

To be served upon:

Legal Zoom Inc. (C2967349) Agent for Service for Breakfast Bitch LLC, A California Limited Liability Company

 

|, DAVID LUCE, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was by law to make service of the documents and informed said person of the
contents herein

Recipient Name/Address: Breakfast Bitch LLC, A California Limited Liability Company, 101 North Brand Ave 11th Floor, Glendale, CA

91203

Manner of Service: Served: Legal Zoom Inc. (C2967349) Registered Agent for service, for Breakfast Bitch LLC, A California Limited
Liability Company, on Jul 24, 2019, 2:20 pm PDT

Documents: Summons in a civil action and Plaintiff's Motion for preliminary injunction and incorporated memorandum of
law

Additional Comments:
1) Service of Process Completed: Jul 24, 2019, 2:20 pm PDT at 101 North Brand Ave 11th Floor, Glendale, CA 91203 received by Registered

Agent for Service (Legal Zoon Inc) (C2967349) For Breakfast Bitch LLC, A California Limited Liability Company.
Served Melanie Doe, Legal Processor

Fees: $

Subscribed and sworn to before me by the affiant who is

personally known to me.
CZ 2 _ 26 ~ ! a Nee
DAVID LUCE Date

 

Process Server License #2014059259 Notary Public
County: Los Angeles bh 1S O4W-U-tNH
Date Commission Expires

Jon Serve Associates
California Process Servers
10950 Arrow Route 661
Rancho Cucamonga, CA 91729

909-472-9107

SHABBIR AZAM
z\ COMM. # 2447424
3] NOTARY PUBLIC CALIFORNIA
Los ANGELES County =
My Comm, Exp, App. 2, 2020 =
meee rerreeet

 
  

 

 
